
USCA1 Opinion

	













        May 3, 1996             [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-2327

                              UNITED STATES OF AMERICA,

                                      Appellee,

                                          v.

                                  CRISTOBAL SORIANO,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge] 
                                             ___________________

                                 ____________________

                                        Before

                                Cyr, Boudin and Lynch,

                                   Circuit Judges.
                                   ______________

                                 ____________________

            William C. Dimitri with  whom Dimitri &amp;  Dimitri was on brief  for
            __________________            __________________
        appellant.
            Sheldon Whitehouse, United States Attorney, with whom Margaret  E.
            __________________                                    ____________
        Curran and  Zechariah Chafee, Assistant United  States Attorneys, were
        ______      ________________
        on brief for the United States.


                                 ____________________


                                 ____________________




















                 Per  Curiam.   "Cristobal Soriano,"  whose real  name is
                 ___________

            David De LaCruz Hiciano, was arrested with two others, Rafael

            Vidal and Johana Ovando, in  August 1994, after selling crack

            cocaine  to  an  undercover  agent.    He  was  charged  with

            conspiring  to distribute  drugs, 21  U.S.C.    846, and  one

            count  each  of  possession  with intent  to  distribute  and

            distribution,  21 U.S.C.   841(a)(1).   On March  8, 1995, De

            LaCruz  pled guilty  to all  counts.   The quantity  of drugs

            triggered a mandatory minimum ten-year sentence.  21 U.S.C.  

            841(b)(1)(A)(iii).  

                 De  LaCruz suffers  from a  terminal illness  and likely

            will not survive  the mandatory minimum term.   At sentencing

            in November  1995, De LaCruz sought relief  under the "safety

            valve" provision,  18 U.S.C.    3553(f) and U.S.S.G    5C1.2,

            which would allow him--if he met the five  criteria--to avoid

            the mandatory minimum and  be sentenced under the guidelines.

            The court calculated his guidelines range to be 87-108 months

            (including  probable  departures), and  De  LaCruz asked  for

            several additional departures to further reduce his sentence.



                 The government argued that  De LaCruz was ineligible for

            relief under  section 3553(f)  because  he had  not made  the

            disclosure of  information  about the  offenses  required  by

            subsection (5).  The court disagreed but found that De LaCruz

            failed  a  different  condition--subsection  (4)--because  he



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            controlled the drug enterprise.  The safety valve is aimed at

            less culpable  defendants and applies only  if "the defendant

            was  not  an organizer,  leader,  manager,  or supervisor  of

            others in the  offense."  18  U.S.C.   3553(f)(4).   The main

            issue on appeal is  whether this fact-bound determination was

            clear  error.  United States v.  Montanez, No. 95-2096, slip.
                           _____________     ________

            op. at 10  (1st Cir. Apr. 24, 1996).   The pertinent evidence

            is as follows.

                 On August 21,  1994, an  agent went to  an apartment  at

            Cherry Street  in Pawtucket,  Rhode Island, and  bought crack

            from Vidal and another unidentified man.  The agent went back

            later  that month  to  buy more.   This  time only  Vidal was

            present;  he telephoned  De  LaCruz, who  apparently had  the

            drugs  at another location.   While waiting for  De LaCruz to

            arrive, the agent gave Vidal $50 in marked bills.

                 De LaCruz  arrived a  short time  later with Ovando  and

            gave the agent  crack that  the agent had  already paid  for.

            Ovando explained to the agent that she and De LaCruz would be

            moving to a new address and that from now on the agent should

            go  there if the  agent wanted more  drugs.   The agent left.

            Minutes later the defendants were arrested.  The $50 that the

            agent had given Vidal was found on De LaCruz.  

                 Agents subsequently searched an apartment at Rand Street

            in Central Falls, Rhode Island.  This apartment was leased to

            Ovando; and she and De LaCruz  had been at the apartment (and



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            under surveillance) on August 21 when Vidal telephoned him to

            arrange the  delivery.  This search  revealed scales, plastic

            bags  and other  drug-trade  paraphernalia and  also evidence

            indicating  that   De  LaCruz  also  occupied   or  used  the

            apartment.  In an adjoining basement, agents found a stash of

            73.8 grams of crack  and $3900 in cash--including $60  of the

            $100 in marked  bills the  agent had given  Vidal during  the

            first buy. 

                 At sentencing  De LaCruz insisted that he and Vidal were

            equal  partners and that Vidal  also had access  to the drugs

            and money at  Ovando's apartment.   In fact  Vidal's car  was

            registered at that address.  But the district court concluded

            that De LaCruz was "in charge," finding that De LaCruz stored

            the  drugs in the Rand Street apartment he shared with Ovando

            and supplied  them to Vidal,  who merely arranged  the sales.

            Later in the hearing, the district court said:

                      If he wasn't the leader I don't  know who was.
                 This is  a three  person  operation and  he was  in
                 charge.  It was  his operation.  What more  can you
                 do with it?  I  can't, I've wrestled with it  and I
                 can't.  I'd  like to give  him every opportunity  I
                 can to  go back to  the Dominican Republic  and die
                 with  his relatives.  But he's going to have to die
                 in a federal penitentiary, that's what it comes to.
                 And this is costly.   This is costly to  the United
                 States government.
                                        . . .

                      But that's the way it works.  I don't have the
                 discretion  to just  throw away  the guidelines  or
                 throw  away  Congress' mandatory  minimum sentences
                 and  so I  have to apply  them. .  . .   I  have no
                 choice, I have to apply the mandatory minimum which
                 is 120 months in prison.


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                 Conceivably, the district court  could have come out the

            other way.   The  probation officer recommended  applying the

            safety  valve provision,  and  the prosecutor  expressed some

            reservation   at  sentencing  about  calling  De  LaCruz  the

            "leader."   But the final  determination is for  the district

            court, and  it was rational  to conclude that  De LaCruz--who

            held  the drugs and money--was in charge.  De LaCruz's equal-

            partners gloss  is  plausible but,  on appeal,  he bears  the

            burden  to show  clear  error and  cannot  prevail simply  by

            putting forth a reasonable alternative interpretation.  

                 This would resolve matters entirely but for the district

            court's brief  comment, "[i]f  he wasn't  the leader  I don't

            know who  was."  In the  abstract, this might  imply a belief

            that someone is necessarily the leader in a group sale.  Such

            a  belief would  be  error, since  equal  partners cannot  be

            deemed leaders  unless one  or both  controlled others.   See
                                                                      ___

            U.S.S.G.    3B1.1;  United States  v. Frankenhauser,  1996 WL
                                _____________     _____________

            154266, at *11 (1st Cir. Apr. 9, 1996).  We think it far more

            likely that the comment  was merely a way of  emphasizing the

            court's view that De LaCruz was in fact the leader.

                 De LaCruz may share this latter view because he does not

            raise this  issue on  appeal  and our  review is  accordingly

            limited to "plain error."  United States v. Olano, 113 S. Ct.
                                       _____________    _____

            1770, 1777-79 (1993).   It may be doubtful that  an ambiguous

            statement  could qualify  as  plain error  although we  might



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            still be entitled  to seek clarification.   But relief  under

            Olano  still requires a  miscarriage of justice  or the like.
            _____

            113 S. Ct. at 1779.  For a reason not mentioned by either the

            district court or the government, such a conclusion would  be

            hard to reach in this case.

                 Despite De LaCruz' attempt  to exculpate Ovando, her own

            role in the August 24 sale indicates that she played a  minor

            role  in the  transaction.   Indeed,  Ovando herself  pleaded

            guilty and De LaCruz  told his probation officer that  he was

            "sorry for getting Johana Ovando implicated in something that

            reaped her  no benefit."  If he did not lead Vidal, De LaCruz

            certainly appears to have  led Ovando.  See United  States v.
                                                    ___ ______________

            Ramirez, 948  F.2d 66,  67  (1st Cir.  1991) (husband  deemed
            _______

            leader where wife a minor participant).

                 This is a distressing case.  The offenses underlying the

            judgment are serious, but few would think that they warranted

            having the defendant die in prison rather than in the care of

            his  family  in his  own country.    But given  the mandatory

            minimum prescribed  by Congress,  it appears that  De LaCruz'

            only avenue for relief is executive clemency.

                 Affirmed.
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